O·�R I G I i� A L
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                      IN THE UNITED STATES DISTRICT CO RT
                      FOR THE NORTHERN DISTRICT OF TE S
                                DALLAS DIVISION
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                                                                  CLERK, U.S. DIS"
UNITED STATES OF AMERICA                                            By ___,;::;+-,----
V.                                                 CRIMINAL NO.

BRET WILLIAM SCHMIDT                                 3·19CR-355-I
                                     INDICTMENT

The Grand Jury Charges:

                                       Count One

        SALE OR TRANSFER OF A FIREARM TO A PROHIBITED PERSON
                  [Violation of 18 U.S.C. § 922(d) & 924(a)(2)]

       Between on or about September 26, 2014, and on or about July 29, 2015, the exact

date being unknown, in the Northern District of Texas, the defendant, Bret William

Schmidt, knowingly sold and provided a firearm, that is, a Diamondback Arms DB-15 556

AR-15 (Serial Number DB1530839) and a Keltec Sub-2000 9mm Rifle (Serial Number

E8S49), to J.T., knowing and having reasonable cause to believe that J.T. had been

convicted of a crime punishable by imprisonment for a term exceeding one year.

       In violation of 18 U.S.C. §§ 922(d) and 924(a)(2).

                                                TRUE BILL:




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